             Case 1:21-cr-00025-TSE Document 36 Filed 05/28/21 Page 1 of 8 PageID# 175
A0 245B (Rev. 09/ll)(VAED rev. 2)Sheet 1 - Judgment in a Criminal Case




                                            UNITED STATES DISTRICT COURT
                                                     Eastern District of Virginia
                                                            Alexandria Division

 UNITED STATES OF AMERICA
                                     V.                                   Case Number: l:21-cr-00025-TSE-l
 ABDULWAHAB HUMAYUN                                                       USMNumber:22308-509
 Defendant.                                                               Defendant's Attorney: Lula Hagos, Esquire



                                             JUDGMENT IN A CRIMINAL CASE

    The defendant pleaded guilty to Count 1 of the Criminal Information.
   Accordingly,the defendant is adjudicated guilty ofthe following counts involving the indicated offenses.

 Title and Section                        Nature of Offense                        Offense Class      Offense Ended   Count


 18 U.S.C.§ 1001(a)(1)                 Falsifying, Concealing, and Covering        Felony             12/15/2020       1
                                          Up a Material Fact in the Jurisdiction
                                       of the Executive Branch of the
                                       Government of the United States by
                                          Means of a Trick, Scheme, and Device

   As pronounced on May 28,2021, the defendant is sentenced as provided in pages 2 through 4 ofthis Judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984.

   It is ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name,residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment
are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of material
changes in economic circumstances.

   Signed this 28th day of May, 2021.




                                                               T.S. Ellis, III
                                                               United Slates l/stricl Judge
Case 1:21-cr-00025-TSE Document 36 Filed 05/28/21 Page 2 of 8 PageID# 176
Case 1:21-cr-00025-TSE Document 36 Filed 05/28/21 Page 3 of 8 PageID# 177
Case 1:21-cr-00025-TSE Document 36 Filed 05/28/21 Page 4 of 8 PageID# 178
Case 1:21-cr-00025-TSE Document 36 Filed 05/28/21 Page 5 of 8 PageID# 179
Case 1:21-cr-00025-TSE Document 36 Filed 05/28/21 Page 6 of 8 PageID# 180
Case 1:21-cr-00025-TSE Document 36 Filed 05/28/21 Page 7 of 8 PageID# 181
Case 1:21-cr-00025-TSE Document 36 Filed 05/28/21 Page 8 of 8 PageID# 182
